        Case 1:18-cr-00258-BLW Document 159 Filed 12/06/18 Page 1 of 5



Jeffrey Brownson
Idaho State Bar No. 7474
LAW OFFICE OF JEFFREY BROWNSON
223 North 6th Street, Suite 215
Boise, Idaho 83702
(208) 342-5800
(208) 437-8041 (fax)
jb@jeffreybrownsonlaw.com

Attorney for Gennady Babitchenko

                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,


              Plaintiff,                            CASE NO. CR-18-00258-BLW

vs.
                                                    MOTION TO CONTINUE JURY TRIAL
PAVEL BABICHENKO,                                   OR ALTERNATIVELY TO
GENNADY BABITCHENKO,                                WITHDRAW AND FOR
PIOTR BABICHENKO,                                   SUBSTITUTION OF COUNSEL
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMENTS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,


              Defendants.




       Defendant Gennady Babitchenko, through his attorney, moves the Court for its Order

vacating the jury trial in the above captioned case, which is presently scheduled to commence


  1 • MOTION TO CONTINUE JURY TRIAL OR ALTERNATIVELY TO WITHDRAW
  AND FOR SUBSTITUTION OF COUNSEL
          Case 1:18-cr-00258-BLW Document 159 Filed 12/06/18 Page 2 of 5



on June 3, 2019 and continuing the matter for thirty (30) days from the present trial date and

also to extend the time for filing pretrial motions based upon the new trial date. Mr.

Babitchenko moves the Court to find that the delay caused by granting the present motion shall

be excluded in computing the time within which the trial must commence, pursuant to 18 U.S.C.

§ 3161

         Good cause exists to grant this motion. Undersigned counsel was appointed to represent

Mr. Babitchenko on November 28, 2018. Dkt. 156. On November 30, 2018 the Court issued its

Memorandum Decision and Order designating this case as complex under 18 U.S.C. §

3161(h)(7)(B)(ii) and scheduling the trial to commence on June 3, 2019. Dkt. 157.

Undersigned counsel’s wife is expecting and due June 15, 2019.

         The Government does not oppose the present motion. Similarly, counsel for the

 following co-defendants has indicated their clients do not oppose the present motion: Pavel

 Babichenko; Piotr Babichenko; Kristina Babichenko; David Babikov; and Anna

 Iyerusalimets. And it is unknown whether the following co-defendants oppose the present

 motion: Timofey Babichenko; Natalya Babichenko; Mikhail Iyerusalimets; and Artur

 Pupko.

         Alternatively, counsel respectfully moves this Court, pursuant to Local Criminal Rule

44.1(b) to permit counsel to withdraw from further representation of Mr. Babitchenko in the

above referenced case.

         This motion is based upon the record herein and upon the Declaration of Counsel,

contemporaneously filed.



  2 • MOTION TO CONTINUE JURY TRIAL OR ALTERNATIVELY TO WITHDRAW
  AND FOR SUBSTITUTION OF COUNSEL
    Case 1:18-cr-00258-BLW Document 159 Filed 12/06/18 Page 3 of 5




   DATED this 6th day of December 2018.

                                          /s/ Jeffrey Brownson




3 • MOTION TO CONTINUE JURY TRIAL OR ALTERNATIVELY TO WITHDRAW
AND FOR SUBSTITUTION OF COUNSEL
         Case 1:18-cr-00258-BLW Document 159 Filed 12/06/18 Page 4 of 5



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of December 2018, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

       Katherine L. Horwitz
       Assistant United States Attorney
       Office of the United States Attorney
       Washington Group Plaza, IV
       800 East Park Blvd., Ste. 600
       Boise, ID 83712
       Kate.Horwitz@usdoj.gov

       Christian S. Nafzger
       Assistant United States Attorney
       Office of the United States Attorney
       Washington Group Plaza, IV
       800 East Park Blvd., Ste. 600
       Boise, ID 83712
       Christian.Nafzger@usdoj.gov

       John DeFranco
       1031 E. Park Blvd.
       Boise, ID 83712
       jcd@greyhawklaw.com
       Attorney for Pavel Babichenko

       Paul E. Riggins
       380 South 4th Street, Ste. 104
       Boise, ID 83702
       rigginslaw@gmail.com
       Attorney for Piotr Babichenko

       Rob S. Lewis
       913 W. River Street, Ste. 430
       Boise, ID 83702
       office@roblewislaw.com
       Attorney for Timofey Babichenko




  4 • MOTION TO CONTINUE JURY TRIAL OR ALTERNATIVELY TO WITHDRAW
  AND FOR SUBSTITUTION OF COUNSEL
    Case 1:18-cr-00258-BLW Document 159 Filed 12/06/18 Page 5 of 5



   Greg S. Silvey
   P.O. Box 5501
   Boise, ID 83705
   greg@idahoappeals.com
   Attorney for Kristina Babichenko

   J.D. Merris
   913 W. River Street, Ste. 420
   Boise, ID 83702
   jmerris@earthlink.net
   Attorney for Natalya Babichenko

   Robyn A. Fyffe
   P.O. Box 5681
   Boise, ID 83705
   robyn@fyffelaw.com
   Attorney for David Bibikov

   S. Richard Rubin
   Melissa Winberg
   702 W. Idaho Street, Ste. 1000
   Boise, ID 83702
   dick_rubin@fd.org
   melissa_winberg@fd.org
   Attorneys for Anna Iyerusalimets

   Ellen Nichole Smith
   P.O. Box 140857
   Garden City, ID 83714
   ellen@smithhorras.com
   Attorney for Mikhail Iyerusalimets

   Gabriel McCarthy
   802 W. Bannock Street, Suite 201
   Boise, Idaho 83702
   gabe@gabrielmccarthy.com
   Attorney for Artur Pupko

                                        /s/ Jeffrey Brownson




5 • MOTION TO CONTINUE JURY TRIAL OR ALTERNATIVELY TO WITHDRAW
AND FOR SUBSTITUTION OF COUNSEL
